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Filing # 51022096 E»Filed 01/11/2017 09:35: 15 AM

|N THE ClRCU|T COURT, TH|RTEENTH
JUD|C|AL C|RCU|T, lN AND FOR
H|LLSBOROUGH COUNTY, FLOR|DA

CASE NO.:

LlONEL LEREBOURS,
P|aintiff,
vS.

GALENCARE, |NC.
dfbfa BRANDON REG|ONAL HOSP|TAL,

and
MED|CRED|T, |NC.,

Defendants.
/

COMPWNT AM) JURY DEMAND
[Unlawfu| Debt Co|lection Practices)

l. lNTRODUCTlON

1. This is an action for damages brought by an individual consumer against
Defendants Ga|encare, |nc. dlbfa Brandon Regiona| Hospita| (“Brandon Regiona|”) and
Medicredit, |nc. (“Medicredit”) for violation of the Fair Debt Co||ection Practices Act, 15
U.S.C. § 1692, et seq. (“FDCPA”) and the F|orida Consumer Co||ection Practices Act,
F|a. Stat. §559.55, et seq. (“FCCPA”), which prohibit debt collectors from engaging in
abusive, deceptive, and unfair practices; as well as for violation of the Fair Credit
Reporting Aot, 15 U.S.C. § 1681, et seq. (“FCRA”) which requires fairness,

confidentiality, and accuracy of consumer credit information.

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ll. JUR|SD|CT|ON AND VENUE

2. This is an action for damages exceeding $15,000.00, exclusive of interest,
costs, and attomey’s fees.

3. P|aintiff Lione| Lerebours (“Lerebours”) is a natural person residing in the
City of Tampa, County of Hi||sborough, and State of F|orida.

4. Upon information and belief, Defendant is Ga|encare, lnc. dib/a Brandon
Regiona| Hospita|, a F|orida healthcare business operating from an address at One
Park P|aza, Nashvi||el TN 3?203 and doing business collecting debts in the State of
F|orida.

5. Upon information and belief, Defendant is Medicredit, |nc., a debt services
company operating from an address at 3620 |-70 Drive SE, Suite C, Co|umbia, MO
65201 and doing business collecting debts in the State of F|orida.

6. For the purposes of this Complaint, unless othen~ise indicated, a
reference to either Defendant includes all agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers of Defendants named in this caption.

lll. FACTUAL ALLEGAT|ONS

7. On or about August 6, 2014, Lerebours received emergency medical
services at Brandon Regiona| Hospita|. Brandon Regiona| incurred fees for the services
provided which remained outstanding after Lerebours left the hospita|. The fees owed
to Brandon Regiona| were divided into two bil|s, each with a different account number
(Account Nos. ending in - and -. The Acoount No. ending in - is the

account at issue in this Complaint,

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8. Sometime thereafter, Brandon Regiona| sought to collect from Lerebours
the medical debt used for the persona|, familyl and household services of Lerebours.
Brandon Regional regularly attempts to collect consumer debts.

9. As part cf the collection efforts, Brandon Regiona| contacted Lerebours
and entered into a monthly repayment plan on each of the accounts. Lerebours agreed
to make monthly payments in the amount of $42.88 on the account at issue and $20.00
on the other account ln order to prevent missing a payment, Lerebours submitted the
amounts electronically through his bank’s bill pay service. According to a statement
dated April 22, 2015, the following payments were credited to the account at issue:

September 24, 2014 $43.08

October 23, 2014 $42.88
November 26, 2014 $42.88
December 24, 2014 $42.88
February 6, 2015 $20.00
March 6, 2015 $20.00
Apri| 6, 2015 $20.00

10. Upon information and belief, the payments were applied incorrectly to
each of the accounts. After receiving a statement dated April 22, 2015, Lerebours
talked to Robin at Brandon Regiona| calling (800)733-0429. Robin told Lerebours to
disregard the statement, that the account would be “pul|ed back” from collections by her
supervisor, and again indicated Brandon Regicna| would continue to accept monthly
payments in the amount of $42.88.

11. Lerebours continued making the monthly payments without issue until
October 2015 when Brandon Regiona| assigned or otherwise transferred the account to

Medicredit for collection. As part of the collection efforts, Medicredit reported the debt

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as a negative collection account on each of the three major credit reports (Experian,
Equifax, and TransUnion). Lerebours continues to make the monthly payments

12. Lerebours was current on the agreed repayment and the account at issue
should not have been sent to Medicredit for further collection.

13. Upon recognizing the negative account on his credit report, Lerebours
initiated disputes with each of the three major credit reporting agencies in March of
2016. ln each of the disputes, Lerebours requested that the entire trade|ine be deleted
as he entered into a repayment plan with Brandon Regiona| and made all the payments
as agreed.

14. Upon information and belief, each of the credit reporting agencies
investigated the alleged debt and Medicredit confirmed the information reported was
correct.

15. Medicredit continues to collect and report the alleged debt.

16. Said information is negative and damaging to Lerebours. As a result of
the actions of Brandon Regional and Medicredit, Lerebours has incurred actual
damages.

lV. F|RST CLA|M FOR REL|EF
Vio|ation of the F|orida Consumsr Co|lecticn Practices Act
Against Brandon Regiona|

17. Lerebours repeats, realleges, and incorporates by reference the
allegations set forth in paragraphs 1 through 16 above.

18. Brandon Regiona| is a “creditor” and “debt collector” as defined by the

FccPA, F|a. stat §§559.55(5) and (7).

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19. The purported debt that Brandon Regional attempted to collect from
Lerebours was a “consumer debt” as defined by the FCCPA, F|a. Stat. §559.55(6).

20. Brandon Regional violated the FCCPA. Brandon Regional’s violations
include, but are not limited to, the fc||cwing:

(a) Disc|ose to a person other than the debtor or her or his family
information affecting the debtor’s reputation, whether or not for
credit worthiness, with knowledge or reason to know that the other
person does not have a legitimate business need for the
information or that the information is false. F|a. Stat. §559.72(5).

(b) C|aim, attempt, or threaten to enforce a debt when such person
knows that the debt is not legitimate or assert the existence of
some other legal right when such person knows that the right does
not exist. F|a. Stat. §559.72(9).

21. As a result of the above averments, Brandon Regicnal is liable to
Lerebours for a declaratory judgment that Medicredit’s conduct violated the FCCPA, as
well as Lerebours’ actual damages, statutory damages, and attcmey’s fees and costs in
an amount exceeding $15,000.00, of which the exact amount will be proven at tria|.

V. SECOND CLA|M FOR REL|EF
Violation of the F|orida Consumer Co|lection Practices Act
Against Medicredit
22. Lerebours repeats, realleges, and incorporates by reference the

allegations set forth in paragraphs 1 through 16 above.

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23. Medicredit is a “creditor"’ and “debt collector" as defined by the FCCPA,
F|a. Stat. §§559.55(5) and (7).

24. The purported debt that Medicredit attempted to collect from Lerebours
was a “consumer debt” as defined by the FCCPA, F|a. Stat. §559.55(6).

25. Medicredit violated the FCCPA. Medicredit’s violations include, but are
not limited to, the following:

(a) Disc|ose to a person other than the debtor or her or his family
information affecting the debtor’s reputationl whether or not for
credit worthiness, with knowledge or reason to know that the other
person does not have a legitimate business need for the
information or that the information is false. F|a. Stat. §559.72(5).

(b) C|aim, attempt, or threaten to enforce a debt when such person
knows that the debt is not legitimate or assert the existence of
some other legal right when such person knows that the right does
not exist. F|a. Stat. §559.72(9).

26. As a result of the above averments, Medicredit is liable to Lerebours for a
declaratory judgment that Medicredit’s conduct violated the FCCPA, as well as
Lerebours' actual damages, statutory damages, and attorney’s fees and costs in an
amount exceeding $15,000.00, of which the exact amount will be proven at tria|.
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Vl. TH|RD CLA|M FOR REL|EF
Violation of the Fair Debt Co|lection Practices Act
Against Medicredit

27. Lerebours repeats, realleges, and incorporates by reference each of the
averments in paragraphs 1 - 16 above.

28. Medicredit is engaged in the collection of debts from consumers using the
mail and telephone. Medicredit regularly attempts to collect consumer debts alleged to
be due to another. Medicredit is a “debt collector" as defined by the FDCPA, 15 U.S.C.
§ 1692a(6).

29. Lerebours is a "consumer” as defined by the FDCPA, 15 U.S.C. §
1692a(3).

30. The purported debt that Medicredit attempted to collect from Lerebours
was a “debt" as defined by the FDCPA, 15 U.S.C. § 1692a(5).

31. Medicredit violated the FDCPA. Medicredit’s violations include, but are
not limited to, the following:

(a) Communicating with a third party, without the prior consent of
Lerebours, in connection with the collection of the alleged debt. 15
U.S.C. § 1692c(b).

(b) Engaging in conduct the natural consequence of which was to
harass, oppress, and abuse Lerebours. 15 U.S.C. § 1692d.

(c) Falsely representing the character, amountl or legal status of the

alleged debt 15 u.s.c. § 1692e(2).

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(d) Taking an action that cannot legally be taken. 15 U.S.C. §
1692e(5).

(e) Communicating or threatening to communicate to any person credit
information which is known or which should be known to be false.
15 U.S.C. § 1692e(8).

32. As a result of the above averments, Medicredit is liable to Lerebours for a
declaratory judgment that Medicredit’s conduct violated the FDCPA, as well as
Lerebours' actual damages, statutory damages, and attorney’s fees and costs in an
amount exceeding $15,000.00, of which the exact amount will be proven at tria|.

Vll. FOURTH CLA|M FOR REL|EF
Violation of the Fair Credit Reporting Act
Against Medicredit

33. Lerebours repeats, realleges, and incorporates by reference the
allegations set forth in paragraphs 1 through 16 above.

34. Medicredit is a “user” of credit information and "furnisher” of credit
information as discussed in the Fair Credit Reporting Act.

35. Upon information and belief, in response to Lerebours' dispute, the credit
reporting agencies, pursuant to 15 U.S.C. § 1681i[a], fonivarded to Medicredit
notification of his dispute and requested that Medicredit conduct a reinvestigation,
pursuant to 15 U.S.C. § 1681s-2.

36. Medicredit failed and refused to conduct an investigation of the disputed
information and, instead, continued to report false, inaccurate information and attributed

same to Lerebours.

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37. Medicredit failed and refused to review all relevant information.

38. Medicredit was required to conduct a reasonab|e, timely and more
thorough reinvestigation of Lerebours' disputes and to respond to the consumer
reporting agencies to whom it subscribed with truthful, complete and relevant
information.

39. Medicredit willfully violated the mandates of 15 U.S.C. § 1681s-2[b] and
Lerebours has suffered damages as a result of those violations ln accordance with F|a.
Stat. §768.72, Plaintiff reserves the right to see leave of court and seek punitive
damages in accordance with

40. Alternatively, Medicredit negligently violated the mandates of Section
1681s-2[b].

41. As a result of the above averments, Medicredit is liable to Lerebours for a
declaratory judgment that Medicredit’s conduct violated the FCRA, as well as
Lerebours' actual damages, statutory damages, and attorney’s fees and costs in an

amount exceeding $15,000.00, of which the exact amount will be proven at tria|.

WHEREFORE, Lerebours respectfully requests that judgment be entered against
Galencare, |nc. dib/af Brandon Regional Hospital for the following:
a. lSSUE a declaratory judgment that Galencare, |nc.’s conduct
violated the FCCPA;
b. Actual damages;

c. Statutory Damages pursuant to F|a. Stat. §559.77(2);

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Costs and

§559.77(2);

reasonable attorney’s fees pursuant F|a. Stat.

For such other and further relief as the Court may deem just and

proven

and against Medicredit, lnc. for the following:

a.

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lSSUE a declaratory judgment that Medicredit’s conduct violated

the FCCPA, FDCPA, and the FCRA;

Actual damages;

Statutory damages pursuant to 15 U.S.C. § 1692k; F|a. Stat.

§559.77(2); andlor 15 U.S.C. § 1681[n] or [o];

Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §

1692k; F|a. Stat. §559.77(2); and/or 15 U.S.C. § 1681, et seq.;

For such other and further relief as the Court may deem just and

proper.

Complaint and Jury Demand

Respectful|y submitted,
FLOR|N LEGAL, P.A.

/sl Scott C. F|orin

Scott C. F|orin

F|orida Bar No. 0088202

4511 N. Himes Avenue, Suite 200
Tampa, F|orida 33614

Phone: (813) 449-4287

Fax: (813) 354-3619
SFlorin@FlorinLegal.com
Attomey for Plaintiff Lerebours

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DEMAND FOR JURY TR|AL

Please take notice that Plaintiff demands trial byjury in this action.

/s/ Scott C. F|orin
Scott C. F|orin

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FORM 1.997. C|VlL COVER SHEET

The civil cover sheet and the information contained herein neither replace nor supplement the filing and service of
pleadings or other papers as required by law. This form shall be filed by the plaintiff or petitioner for the use of the Clerk
of the Court for the purpose of reporting judicial workload data pursuant to F|orida Statutes section 25.075.

 

l. CASE STYLE

|N THE C|RCU|T COURT OF THE THIRTEENTH JUD|C|AL C|RCU|T,
|N AND FOR HILLSBOROUGH COUNTY, FLOR|DA

Lionel Lerebours
Plaintiff
vs.
Galencare, Inc.. Medicredit. Inc.
Defendant

 

ll. TYPE OF CASE

§ Condominium

§ Contracts and indebtedness

§ Eminent domain

§ Auto negligence

§ Negligence - other

Business governance

Business torts

EnvironmentallToxic tort

Third party indemnification

Construction defect

Mass tort

Negligent security

Nursing home negligence

Premises liability - commercial

_ Premises liability - residential

Products liability

Real Property/Mortgage foreclosure

Commercial foreclosure $O - $50,000
Commercial foreclosure $50,001 - $249,999
Commercial foreclosure $250,000 or more
Homestead residential foreclosure $O - 50,000
Homestead residential foreclosure $50,001 -
$249,999

Homestead residential foreclosure $250,000 or
more

Non-homestead residential foreclosure $O -
$50,000

Non-homestead residential foreclosure
$50,001 - $249,999

Non-homestead residential foreclosure
$250,00 or more

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Other real property actions $0 - $50,000
Other real property actions $50,001 - $249,999
Other real property actions $250,000 or more

Professional malpractice

Malpractice - business
Malpractice - medical
Malpractice - other professional

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Antitrust/Trade Regulation
Business Transaction
Circuit Civil - Not Applicable

Constitutional challenge-statute or
ordinance

Constitutional challenge-proposed
amendment

Corporate Trusts
Discrimination-employment or other
insurance claims

intellectual property

Libel/Slander

Shareholder derivative action
Securities litigation

Trade secrets

Trust litigation

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COMPLEX BUS|NESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order. Yes § No

||l. REMED|ES SOUGHT (check all that apply):
Monetary;
§ Non-monetary
Non-monetary declaratory or injunctive relief;
§ Punitive

lv. NuMBER oF cAusEs oF AchoN: ( )
(Specify)

1

V. lS TH|S CASE A CLASS ACT|ON LAWSU|T?

Vl. HAS NOT|CE OF ANY KNOWN RELATED CASE BEEN FlLED?

§ Yes - if “yes” list all related cases by name, case number and court:

§

Vll. lS JURY TR|AL DEMANDED |N COMPLA|NT?
>I< Yes
No

|i:||

 

l CERT|FY that the information l have provided in this cover sheet is accurate to the best of my knowledge and belief.

Signature s/ Scctt C Florin FL Bar No.: 88202
Attorney or party (Bar numberl if attorney)

Scctt C Florin 01/11/2017
(Type or print name) Date

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